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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )     4:06CR3016
     v.                              )
                                     )
ARMANDO GARCIA-DELACRUZ and          )       ORDER
MARCO M. PRUNEDA,                    )
                                     )
     Defendant.                      )


     IT IS ORDERED:

     1. An evidentiary hearing on defendant Garcia-Delacruz’s
motion to suppress evidence, filing 39, will be held before the
undersigned on October 3, 2006 beginning at 1:30 p.m. in
Courtroom #2, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. The court has set
aside two hours for this hearing.

     2. Defendant Garcia-Delacruz, his counsel, and counsel for
the government shall be present at this hearing.

     3. Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     4. As to both defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.

     Dated September 20, 2006.

                                    BY THE COURT

                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
